Case 4:22-cr-00115-JFH Document 73 Filed in USDC-ND

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AO 442 (Rev. 10/13) Arrest Warrant OO lle PARR ES?

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UNITED STATES DISTRICT COURT

for the
Northern District of Oklahoma

United States of America )
" 5 Case No. 2 2 CR 1 i 5 CVE
RICHARD DALE DEETER, JR. ) F I L E D
ARREST WARRANT MAY 3 1 2022
To: Any authorized law enforcement officer Mark C. MoCaintt, Clenk

U.S. DISTRICT COURT
YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) RICHARD DALE DEETER, JR..,
who is accused of an offense or violation based on the following document filed with the court:

Indictment [) Superseding Indictment [1 Information C Superseding Information LJ Complaint
C1 Probation Violation Petition [ Supervised Release Violation Petition [1 Violation Notice C1 Order of the Court

This offense is briefly described as follows:

21 U.S.C. § 848(a) and 848(c) — Continuing Criminal Enterprise

18 U.S.C. §§ 922(g)(1), 924(a)(2), and 2 — Felon in Possession of a Firearm

18 U.S.C. § 924(0) — Firearms Conspiracy

21 US.C. §§ 846 and 841(b)(1)(A)(viii) — Drug Conspiracy

21 U.S.C. §§ 843(b) and 843(d)(1) — Use of a Communication Facility in Committing, Causing, and Facilitating the Commission
of a Drug Trafficking Felony

18 U.S.C. §§ 924(c)(1)(A)(i) and 2 — Possession of a Firearm in Furtherance of a Drug Trafficking Crime

21 U.S.C. §§ 856(a)(1) and 856(b) — Maintaining a Drug-Involved Premises

18 U.S.C. § 924(d), 21 U.S.C. § 853, and 28 U.S.C. § 2461(c) — Drug and Firearms Forfeiture

/
APR 2.0 20 AF
Date: de ay |
Issuing officer signature
City and state: Tulsa, Oklahoma Mark McCartt, Court Clerk
Printed name and title
Return
This warrant was received on (date) v/, 3 }2 2 , and the person was arrested on (date) 5 fa 3 72>
At (city and state) Tuffy «e 0K
Date: o / 2.3/2 2.

Kou 2 Vite k

Arresting officer’s signature

LG. Vetch LUSM

Pe, Kod up on WwW HCAP - OL | Printed name and title

DAN/kj

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